Case 3:15-cv-00031-RLY-MPB Document 96 Filed 08/16/17 Page 1 of 5 PageID #: 1141



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION

 DONALD B. GRAY, et al.                             )
 on their own behalf and on behalf of a             )
 class of persons similarly situated,               )
                                                    )
               Plaintiffs,                          )
                                                    )
                       v.                           ) CAUSE NO: 3:15-cv-31-RLY-WGH
                                                    )
                                                    )
 VECTREN CORPORATION COMBINED                       )
 NON-BARGAINING RETIREMENT PLAN                     )
 and VECTREN CORPORATION as plan                    )
 administrator for the plan,                        )
                                                    )
               Defendants.                          )

                              ORDER AND FINAL JUDGMENT

        Plaintiffs Donald B. Gray et al. and Defendants Vectren Corporation Combined Non-

 Bargaining Retirement Plan and Vectren Corporation (collectively, “Vectren”) entered into a

 Settlement Agreement to fully and finally resolve all claims pending against Vectren. On

 May 31, 2017, the Court granted preliminary approval of the proposed Settlement between

 Plaintiffs and Vectren (“Preliminary Approval Order”) (Dkt. 91).        The Court authorized

 dissemination of notice of the Settlement and the Final Settlement Hearing to the Settlement

 Class. Id. Notice was disseminated to the Settlement Class in accordance with the Preliminary

 Approval Order, and a Final Settlement Hearing was held on August 15, 2017.

        Having now considered the Plaintiffs’ and all others’ written submissions, oral argument

 at the Final Settlement Hearing, and all evidence and records filed in this matter, and having

 already held, for the reasons set out in detail in the Preliminary Approval Order that: (i) the

 Court has jurisdiction over this action; (ii) the Settlement satisfies Federal Rule of Civil
Case 3:15-cv-00031-RLY-MPB Document 96 Filed 08/16/17 Page 2 of 5 PageID #: 1142



 Procedure 23(e)(2)’s requirement that it be “fair, adequate, and reasonable;” (iii) the Settlement

 satisfies the requirements of Federal Rule of Civil Procedure 23(a)-(b); and (iv) the notice

 provided to the Settlement Class satisfied the requirements of Federal Rule of Civil Procedure

 23(c)(2)(B), (e)(1), and the due process requirements of the Constitution,

         IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

         1.      This Court has jurisdiction over this Lawsuit.

         2.      The terms capitalized in this Order and Final Judgment have the same meanings

 as those used in the Settlement Agreement.

         3.      The Court hereby certifies, for settlement purposes only, the following Settlement

 Class pursuant to Federal Rule of Civil Procedure 23 and reaffirms its appointment of Settlement

 Class Counsel on behalf of this class: All current and former Vectren Plan participants who were

 participants in the SIGECO Plan and who chose the Cash Balance Formula over the Traditional

 Formula when the SIGECO Plan was merged into the Vectren Plan.

         4.      Certification of the Settlement Class is done for settlement purposes only. As part

 of the Settlement, Vectren has not objected to certification of the Settlement Class. In the event

 any portion of the Settlement or this Order and Final Judgment is ultimately reversed, vacated, or

 modified in any material respect on appeal, and any portion of the Lawsuit continues, the

 Settlement Agreement shall have no force or effect; the Parties shall be restored, without waiver,

 to their respective positions prior to the Effective Date of the Settlement Agreement; certification

 of the Settlement Class shall be vacated; the Lawsuit shall proceed as though the Settlement

 Class had never been certified and the Motion for Preliminary Approval of Settlement and

 supporting memorandum had not been filed; and Vectren shall have the right to oppose the

 certification of the plaintiff class.




                                                  2
Case 3:15-cv-00031-RLY-MPB Document 96 Filed 08/16/17 Page 3 of 5 PageID #: 1143



        5.      Notice to Class Members has been provided in accordance with the notice

 requirements specified by the Court in the Preliminary Approval Order. Such notice: (i)

 constituted the best notice to Class Members that was practicable under the circumstances; (ii)

 constituted notice that was reasonably calculated, under the circumstances, to apprise Class

 Members of their right to object and to appear at the Final Settlement Hearing and the binding

 effect of a class judgment; (iii) was reasonable and constituted due, adequate and sufficient

 notice to persons entitled to be provided with notice; and (iv) fully complied with the

 requirements of due process and the Federal Rules of Civil Procedure.

        6.      The Class Action Fairness Act, 28 U.S.C. § 1715 (“CAFA”), requires that certain

 federal and state governmental officials be given notice of a proposed class action settlement.

 Vectren gave CAFA notice to the United States Attorney General and to the Attorneys General

 of all fifty states, as well as the Attorneys General of the American Samoa, District of Columbia,

 Guam, Northern Marina Islands, Puerto Rico, and the U.S. Virgin Islands. Defs.’ Notice of

 Compliance with CAFA Notice Requirements (Dkt. 89). The Court finds that Vectren’s notice

 obligations under CAFA, and specifically 28 U.S.C. § 1715(b), have been satisfied and any

 notice required thereunder has been provided.

        7.      The Settlement is fair, reasonable, and adequate pursuant to Federal Rule of Civil

 Procedure 23(e)(2) and is approved in its entirety.

        8.      Class Counsel is awarded attorney fees and litigation expenses in the amount of

 $188,450, which Vectren shall cause to be paid in the manner set forth in Paragraph 6 of the

 Settlement Agreement.




                                                  3
Case 3:15-cv-00031-RLY-MPB Document 96 Filed 08/16/17 Page 4 of 5 PageID #: 1144



        9.      The Class Representatives are awarded an incentive payment of $36,500, which

 Vectren shall cause to be paid in the manner set forth in Paragraph 6 of the Settlement

 Agreement.

        10.      This case is hereby dismissed with prejudice and the releases described in the

 Settlement Agreement shall be deemed effective as set forth therein. Each member of the Class

 who has not requested exclusion as set forth in the Notice is barred from instituting, prosecuting,

 maintaining, or continuing with, in any capacity, any action or proceeding that asserts any of the

 Released Claims against the Defendant Released Parties. The Defendant Released Parties are

 barred from instituting, prosecuting, maintaining, or continuing with, in any capacity, any action

 or proceeding that relates to or arises out of the Released Litigation Claims.

        11.     Neither the Order and Final Judgment, the Settlement Agreement, nor any act

 performed or document executed pursuant to the Settlement Agreement, may be deemed or used

 as an admission of liability, fault, or wrongdoing in any criminal, civil, or administrative

 proceeding.

        12.     Without affecting the finality of this Final Judgment, the Court retains jurisdiction

 over the Parties to administer, supervise, construe and enforce the Settlement Agreement in

 accordance with its terms and conditions.

        13.     There being no just reason for delay, the Clerk is directed to enter final judgment

 of dismissal as to Vectren pursuant to Federal Rule of Civil Procedure 54(b).



 Date: 8/16/2017                                       ____________________________________
                                                       Judge, United States District Court
                                                       Southern District of Indiana




                                                  4
Case 3:15-cv-00031-RLY-MPB Document 96 Filed 08/16/17 Page 5 of 5 PageID #: 1145



 Distribution To:


 Service will be made electronically on all ECF-registered counsel of record via email generated
 by the Court’s ECF system.




                                                5
